                 Case 1:17-cr-00216-KJM Document 53 Filed 04/16/18 Page 1 of 2

 1 McGREGOR W. SCOTT
   United States Attorney
 2 VINCENZA RABENN
   Assistant United States Attorney
 3 2500 Tulare Street, Suite 4401
   Fresno, CA 93721
 4 Telephone: (559) 497-4000
   Facsimile: (559) 497-4099
 5
   Attorneys for Plaintiff
 6 United States of America

 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:17-CR-00216-DAD-BAM

12                                Plaintiff,            PRELIMINARY ORDER OF FORFEITURE

13                         v.

14   ANDRES AGUIRRE,

15                                Defendant.

16

17          Based upon the plea agreement entered between the United States and defendant Andres Aguirre,

18 and the accompanying Application for Preliminary Order of Forfeiture and Publication Thereof by the

19 United States, it is hereby ORDERED, ADJUDGED AND DECREEED as follows:

20          1.      Pursuant to 21 U.S.C. § 853(a), Andres Aguirre’s interest in the following property shall

21 be condemned and forfeited to the United States of America, to be disposed of according to law:

22                  a. North American Arms, 5 shot 22 magnum revolver, with serial number appeared to

23                     have been removed;

24                  b. Any and all ammunition seized in this case.

25          2.      The above-listed assets are property constituting, or derived from, any proceeds the

26 defendant obtained, directly or indirectly, or is property used, or intended to be used, in any manner or
27 part, to commit, or to facilitate the commission of, a violation of 21 U.S.C. § 841(a)(1).

28 ///


      PRELIMINARY ORDER OF FORFEITURE                    1
30
                 Case 1:17-cr-00216-KJM Document 53 Filed 04/16/18 Page 2 of 2

 1          3.      Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be authorized to

 2 seize the above-listed property. The aforementioned property shall be seized and held by the

 3 Department of Homeland Security, Customs and Border Protection or Homeland Security Investigations

 4 in its secure custody and control.

 5          4.      a. Pursuant to 21 U.S.C. § 853(n), and Local Rule 171, the United States shall publish

 6 notice of the order of forfeiture. Notice of this Order and notice of the Attorney General’s (or a

 7 designee’s) intent to dispose of the property in such manner as the Attorney General may direct shall be

 8 posted for at least 30 consecutive days on the official internet government forfeiture site

 9 www.forfeiture.gov. The United States may also, to the extent practicable, provide direct written notice

10 to any person known to have alleged an interest in the property that is the subject of the order of

11 forfeiture as a substitute for published notice as to those persons so notified.

12                  b. This notice shall state that any person, other than the defendant, asserting a legal

13 interest in the above-listed property, must file a petition with the Court within sixty (60) days from the

14 first day of publication of the Notice of Forfeiture posted on the official government forfeiture site, or

15 within thirty (30) days from receipt of direct written notice, whichever is earlier.

16          5.      If a petition is timely filed, upon adjudication of all third-party interests, if any, this

17 Court will enter a Final Order of Forfeiture pursuant to 21 U.S.C. § 853(a), in which all interests will

18 be addressed.

19 IT IS SO ORDERED.

20
        Dated:      April 15, 2018
21                                                       UNITED STATES DISTRICT JUDGE

22

23

24

25

26
27

28


      PRELIMINARY ORDER OF FORFEITURE                       2
30
